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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

META PLATFORMS, INC.,

                        Plaintiff,

           v.

THE FEDERAL TRADE COMMISSION,

– and –                                                  Case No. 1:23-cv-03562-RDM

LINA M. KHAN, REBECCA KELLY
SLAUGHTER, and ALVARO BEDOYA,
in their official capacities as Commissioners
of the Federal Trade Commission,

Defendants.


                                     NOTICE OF RELATED CASE

          Pursuant to Local Civil Rule 40.5(b)(3), Plaintiff Meta Platforms, Inc. (“Meta”) hereby

notifies this Court of a related case in this District: United States v. Facebook, Inc., No. 1:19-cv-

02184 (D.D.C.) (“Facebook”), which is currently pending before United States District Judge

Timothy J. Kelly.

          Rule 40.5(b)(3) provides that “cases are deemed related when the earliest is still pending

on the merits in the District Court” and where the cases “grow out of the same event or transaction”

or “involve common issues of fact.” Both cases involve “common issues of fact” and “grow out

of the same event or transaction”—namely, the Federal Trade Commission’s administrative

reopening proceeding Meta, In the Matter of Facebook, Inc., File No. C-4365 (FTC May 3, 2023).

          When the Complaint in the above-captioned case (“Meta”) was first filed, the Court in

Facebook had already denied Meta’s Motion to Enforce in that case for lack of jurisdiction. On

May 16, 2025, the D.C. Circuit reversed, explaining that because “the district court’s dismissal on
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jurisdictional grounds meant that it never reached the merits, we reverse and remand so that it may

consider Facebook’s claims in the first instance.” United States v. Facebook, Inc., 136 F.4th 1129,

1135 (D.C. Cir. 2025). The mandate issued on July 10, 2025.

       As required by Rule 40.5(b)(3), Meta provides this notice because Facebook, the earlier of

the cases, is now “pending on the merits.” Meta notes that on June 29, 2025, this Court stayed this

action in light of Facebook “pending further order of this Court,” see Minute Order, Meta

Platforms, Inc. v. FTC, 1:23-cv-03562-RDM (D.D.C. June 29, 2025), to the extent that bears on

whether the Court should defer the process for assignment of related cases set forth in Rule 40.5(c).




 DATED: July 15, 2025                         Respectfully submitted,

                                              /s/ James P. Rouhandeh

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